                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:22-CV-68-BO

YOLANDA IRVING, et al.,                       )
          Plaintiffs,                         )
V.                                            )                    ORDER
                                              )
THE CITY OF RALEIGH, et al.,                  )
           Defendants.                        )

         This is before the Court on plaintiffs' motions [DE 178, 181] for leave to file a manual

exhibit, and plaintiffs' motion [DE 182] for a protective order that would prevent defendant-

Abdullah from conducting discovery. Finally, defendants' consent motion [DE 183] asks the

Court to extend the deadline to file dispositive motions.

         I. Plaintiffs may file their supplemental exhibit [DE 178, 181).

         On March 11, this Court dismissed plaintiffs' motion to strike. [DE 191]. In the instant

motions, plaintiffs seek to supplement that motion with sealed police bodycam footage of the

search warrant. To create a fair and accurate record, those motions will be granted. [DE 178,

181 ].


         II. The Court will not prevent Abdullah from conducting discovery [DE 182).

         Abdullah, one of the defendants, is facing criminal charges in state court. Abdullah

sought "a stay of these proceedings pending resolution of [that] parallel criminal action . . .. "

[DE 119]. After weighing Abdullah' s Fifth Amendment interest, the Court stayed "discovery and

motions practice deadlines [] as to defendant Abdullah only." [DE 141 at 8]. That order protects

Abdullah from being deposed. Plaintiffs now argue it also prevents him from conducting

depositions.

         The entire purpose behind that order was to protect Abdullah' s Fifth Amendment right

against self-incrimination while his parallel criminal proceeding was pending. Both parties

understood the order was meant to shield Abdullah from plaintiffs' discovery, not prevent
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Abdullah from conducting discovery. When Abdullah' s counsel sent an email memorializing

this understanding, plaintiffs did not object. [DE 190 Exh. B]. And weeks after the order, when

Abdullah played a role in conducting five depositions, plaintiffs did not object. [DE 190   1 12].
Therefore, plaintiffs' motion must be denied.

       III. The parties have until May 1, 2023 to file dispositive motions [DE 183].

       The deadline to file dispositive motions was March 31 , 2023 . With plaintiffs' consent,

defendants move for an extension of that deadline. For good cause shown, the Court will extend

the deadline to file dispositive motions until May 1, 2023 . Defendants withdrew their remaining

arguments, so those will be denied as moot.

                                        CONCLUSION

       For the foregoing reasons, plaintiffs' motions [DE 178, 181] are GRANTED. Plaintiffs'

motion [DE 182] for a protective order is DENIED. Defendants' motion [DE 183] is GRANTED

in part. Dispositive motions will be filed on or before Monday, May 1, 2023. The remaining

portions of that motion [DE 183] are DENIED AS MOOT.

SO ORDERED, this     _3j_ day of March, 2023.


                                                TE   NCE W. BOYLE
                                                UNITED STATES DISTRICT UDGE




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